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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

  UNITED STATES, et al.,                            )
                                                    )
                            Plaintiffs,             )
            v.                                      )       No. 1:23-cv-00108-LMB-JFA
                                                    )
  GOOGLE LLC,                                       )
                                                    )
                            Defendant.              )


    FURTHER SUPPLEMENT TO OBJECTIONS TO MAGISTRATE JUDGE’S ORDER
        DENYING MOTION TO AMEND COORDINATION ORDER FOR NEW
                            INFORMATION

            Plaintiffs file this further supplement to inform the Court that after the filing of their

  Supplement earlier today (ECF No. 684), the court in the Texas Case entered Google’s proposed

  joint Stipulation and Order for Reproduction of Discovery (Exhibit A to ECF No. 684) without

  the language proposed by the United States (shown in Exhibit B to ECF No. 684). See Exhibit C

  hereto.




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  Dated: May 30, 2024

  Respectfully submitted,

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